         Case 20-33948 Document 703 Filed in TXSB on 12/24/20 Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     §
In re:                                               §       Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §       Case No. 20-33948 (MI)
                                                     §
                 Debtors.1                           §       (Jointly Administered)
                                                     §       Re: Docket No. 626

    CERTIFICATE OF NO OBJECTION TO MOTION OF DEBTORS FOR AUTHORITY
        TO EXTEND TIME TO ASSUME OR REJECT UNEXPIRED LEASES OF
                     NONRESIDENTIAL REAL PROPERTY

                 1.       On December 1, 2020, Fieldwood Energy LLC and its debtor affiliates in

the above-captioned chapter 11 cases, as debtors and debtors in possession (collectively,

the “Debtors”), filed the Motion of Debtors for Authority to Extend Time to Assume or Reject

Unexpired Leases of Nonresidential Real Property (Docket No. 626) (the “Motion”). Objections

to the Motion were required to be filed and served by December 22, 2020 (the “Objection

Deadline”).

                 2.       In accordance with paragraph 40 of the Procedures for Complex Chapter

11 Cases in the Southern District of Texas, the undersigned counsel files this Certificate of No

Objection and represents to the Court that (i) more than twenty-four hours have passed since the

Objection Deadline, (ii) the undersigned counsel is unaware of any unresolved objections to the

Motion, and (iii) the undersigned counsel has reviewed the Court’s docket and no objection to the

Motion appears thereon.


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
       Case 20-33948 Document 703 Filed in TXSB on 12/24/20 Page 2 of 3




              3.      Therefore, the Debtors respectfully request entry of the proposed order filed

with the Motion, attached hereto as Exhibit A.


Dated: December 24, 2020
       Houston, Texas
                                            Respectfully submitted,

                                             /s/ Alfredo R. Pérez
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                                            -and-
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                                            Attorneys for Debtors
                                            and Debtors in Possession




                                                 2
       Case 20-33948 Document 703 Filed in TXSB on 12/24/20 Page 3 of 3




                                     Certificate of Service

I hereby certify that on December 24, 2020, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                       /s/ Alfredo R. Pérez
                                                      Alfredo R. Pérez
